                 Case 3:20-cv-05224-JLR Document 107 Filed 05/26/21 Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 26, 2021


       No.:                   21-35400
       D.C. No.:              3:20-cv-05224-JLR
       Short Title:           Eric Dodge v. Evergreen School District #114, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case 3:20-cv-05224-JLR Document 107 Filed 05/26/21 Page 2 of 3




                  UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                  MAY 26 2021
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




 ERIC DODGE,                                  No. 21-35400

              Plaintiff - Appellant,
                                              D.C. No. 3:20-cv-05224-JLR
   v.                                         U.S. District Court for Western
                                              Washington, Tacoma
 EVERGREEN SCHOOL DISTRICT
 #114, a public corporation; CAROLINE         TIME SCHEDULE ORDER
 GARRETT; JANAE GOMES,

              Defendants - Appellees.



The parties shall meet the following time schedule.

Wed., June 2, 2021            Appellant's Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Mon., July 26, 2021           Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Mon., August 23, 2021         Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
       Case 3:20-cv-05224-JLR Document 107 Filed 05/26/21 Page 3 of 3

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                           FOR THE COURT:

                                           MOLLY C. DWYER
                                           CLERK OF COURT

                                           By: Janne Nicole Millare Rivera
                                           Deputy Clerk
                                           Ninth Circuit Rule 27-7
